            Case 6:20-cv-00674-ADA Document 1 Filed 07/24/20 Page 1 of 14




                        UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION


  DATAWIDGET, LLC,

                 Plaintiff                            Case No. 6:20-cv-00674


                 v.                                   JURY TRIAL DEMANDED


  TECRA SYSTEMS, INC. AND
  PROPAGO, LLC,

                 Defendants


                      COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff, DataWidget, LLC, by and through its attorneys, for its Complaint for

Patent Infringement against defendants, Tecra Systems, Inc. and Propago, LLC

(collectively, “Defendants”), alleges as follows:

                              PRELIMINARY STATEMENT

       1.       This is an action for patent infringement arising under the patent laws of

the United States, Title 35, Section 101 et seq., United States Code.

                                         PARTIES

       2.       Plaintiff, DataWidget, LLC f/k/a Elford LLC (“DataWidget”), is a limited

liability company organized and existing under the laws of Arizona, with its principal

place of business in Scottsdale, Arizona. DataWidget is the owner by assignment of U.S.

Patent No. 10,102,557 (“the ’557 Patent”), including the exclusive right to recover for past

and future infringement.
            Case 6:20-cv-00674-ADA Document 1 Filed 07/24/20 Page 2 of 14




       3.       Defendant Tecra Systems Inc. is Michigan corporation business with a

principal place of business in Austin, Texas.

       4.       Defendant Propago LLC is a Texas limited liability company with a

principal place of business in Austin, Texas.

       5.       Non-party   Compact    Information   Systems,    Inc.   (“Compact”),   is a

Washington corporation with a principal place of business in Redmond, Washington.

       6.       Non-party Mailers Haven, LLC (“Mailers Haven”) is a limited liability

company organized under the laws of the State of California with a principal place of

business in Valencia, California.

       7.       Non-party Accudata Integrated Marketing, Inc. (“Accudata”) is a Florida

corporation with a principal place of business in Fort Myers, Florida.

                                      JURISDICTION

       8.       This action arises under the Patent Act, 35 U.S.C. § 101 et seq. This Court

has original jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §§

1331 and 1338(a).

       9.       Personal jurisdiction over Defendants is proper in this District because

Defendants used and sold access to a system in the District that infringes upon the ’557

Patent. Further, Defendants’ conduct has established minimum contacts within the

District such that the exercise of jurisdiction over Defendants would not offend

traditional notions of fair play and substantial justice.




                                              2
          Case 6:20-cv-00674-ADA Document 1 Filed 07/24/20 Page 3 of 14




                                           VENUE

         10.   Venue is proper in this district under 28 U.S.C. §§ 1391(b) and 1400(b)

because Defendants each have a regular and established place of business in this District

and have committed acts of patent infringement within this District.

                                           FACTS

                                       The ’557 Patent

         11.   The ’557 Patent, entitled SYSTEM AND METHOD FOR SELLING

CUSTOMER-SPECIFIC DATA SUBSETS ON A THIRD-PARTY WEBSITE USING A

WEB WIDGET, was duly and legally issued on October 16, 2018, and names Joel Brown

as the inventor. A copy of the ’557 Patent is attached as Exhibit 1. Also attached as

Exhibit 2 and incorporated herein is a true and correct copy of the September 11, 2019

letter sent to Tecra Systems, Inc., which includes a copy of the ’557 Patent.

         12.   Joel Brown assigned his rights to the ’557 Patent to DataWidget, a company

that employs his father, Graham Brown.

         13.   First,   Joel   Brown     assigned   to   Eprintwerx   International,   LLC

(“Eprintwerx”), the right to use the ’557 Patent in its business, which involves working

with e-commerce vendors and e-commerce platform builders to help them develop web-

to-print and direct-mail solutions. Entities like Compact, Accudata, and Mailers Haven

operate in direct competition with Eprintwerx.

         14.   Second, Joel Brown assigned to DataWidget f/k/a Elford LLC, the right to

enforce the ’557 Patent, including the right to initiate enforcement proceedings, file

lawsuits, and offer limited licenses.1



1   Effective January 23, 2020, Elford LLC changed its name to DataWidget LLC.

                                              3
        Case 6:20-cv-00674-ADA Document 1 Filed 07/24/20 Page 4 of 14




      15.    By assignment, DataWidget owns certain rights under the ’557 Patent,

including enforcement rights.

      16.    The system described in the ’557 Patent comprises a system for selling

individually-tailored customer-specific data subsets (for example mailing lists used in

direct-mail campaigns) on a third-party website using a data seller widget.

      17.    This system involves several aspects, including2:

             a. An entity that stores data on a server and sells that data (the “Data

                 Seller”);

             b. An entity that offers to sell printing services (including direct-mail

                 campaigns) to customers through an e-commerce website (the “Vendor”)

                 or a software development entity (the “Platform Builder”) that builds e-

                 commerce platforms that can be licensed to the Vendor; and

             c. A data extraction widget (the “Widget”) that allows a customer to view,

                 extract, and cause data to be downloaded from the Data Seller’s

                 database, purchase the data from the Vendor and simultaneously

                 purchase printing services from the Vendor Seller’s dataset, view and

                 query data, and order and extract subsets of that data.

      18.    The Widget is a piece of software, that can be integrated into a webpage,

that allows a customer to view and query the Data Seller’s database contents from the

Vendor’s webpage and to purchase data subsets from the Vendor’s webpage.




2The description of the ‘557 Patent throughout the complaint are for narrative
purposes only; Exhibits 2 and 4 describe fully each claim of the ’557 Patent.

                                           4
         Case 6:20-cv-00674-ADA Document 1 Filed 07/24/20 Page 5 of 14




       19.     The ’557 Patent creates a system where the Vendor or Platform Builder,

such as Tecra and Propago, can integrate the Widget into a website, giving customers a

seamless experience when accessing and querying the Data Seller’s data, determining

which data the customer would like to purchase (or license), paying for that data,

downloading the desired data, and ordering printing services from the Vendor in a single

transaction (often with the data, such as names and addresses, applied to the printing

services).

       20.     As a result, the ’557 Patent is extremely useful to individual customers,

business customers, and franchisors because it increases efficiency, allowing customers

to simultaneously identify relevant data sets, purchase or license data sets, and purchase

printing services.

       21.     Eprintwerx licenses its technology, including customized versions of the

Widget, to Platform Builders, Vendors, and Data Sellers, allowing them to operate the

system comprising the ’557 Patent, which allows the Platform Builders and Vendors to

better serve their customers.

       22.     The ’557 Patent is valid and enforceable.

             Compact Copies the Widget to Aid Infringement of the ’557 Patent

       23.     Upon information and belief, some time after November 20, 2009, Compact

developed a software application that performs the same functions as the Widget and

began selling, and/or licensing the use of the software identical to or functionally

equivalent to the Widget to e-commerce vendors and “plugin providers.”

       24.     Plugin providers are entities like Accudata, Mailers Haven and USAData

that: 1) sell and/or license the use of applications that perform the same functions as the


                                             5
        Case 6:20-cv-00674-ADA Document 1 Filed 07/24/20 Page 6 of 14




Widget to e-commerce vendors; and 2) provide mechanisms for e-commerce vendors to

give the e-commerce vendors’ customers access to databases owned by data sellers.

      25.    Upon information and belief, Compact has been aware of the ’557 Patent

for many years and has knowingly and wilfully continued to sell and/or license a software

application that serves no other purpose than to be implemented into systems that

infringe upon the ’557 Patent.

      26.    Compact and Mailers Haven were put on notice of the pending application

for the ’557 Patent as early as January 20, 2010 and were informed of the belief that

Compact had copied or was actively working to copy the widget described in the ’557

Patent. A copy of the January 20, 2010 letter that was sent is attached as Exhibit 3.

      27.    Upon information and belief, Compact built and operates software that

replicates the functions of the widget described in the ’557 Patent. This software is

maintained together with the data on Compact’s servers.

      28.    Compact permits the license and sale of its data through licenses it grants

to other data sellers (such as Accudata and Mailers Haven), plugin providers (such as

Tecra and Propago), and vendors.

             Accudata, Mailers Haven, USAData, and Compact Customize
               Applications Solely for use in Infringing Systems.

      29.    Upon information and belief, Accudata is owned by and/or controlled by

Compact.

      30.    Like Compact, USAData, Accudata, and Mailers Haven sell and/or license

software applications that serve no purpose other than to be implemented into systems

that infringe upon the ’557 Patent. Upon information and belief, the Accudata and




                                            6
         Case 6:20-cv-00674-ADA Document 1 Filed 07/24/20 Page 7 of 14




Mailers Haven license the software applications built to infringe upon the ’557 Patent

from Compact and resell the data provided from Compact.

       31.    These software applications are specifically designed to be integrated into

e-commerce websites so that those websites’ customers can view data, purchase data, and

purchase printing services from a single website in a single transaction.

       32.    USAData, Accudata, and Mailers Haven will customize these applications

for different e-commerce vendors.

       33.    Upon information and belief, Compact, USAData, Accudata, and Mailers

Haven store their data on at least one database server.

       34.    USAData, Accudata, and Mailers Haven sell the data in their database(s)

to customers through e-commerce vendors and perform the role of Data Sellers as

described in the ’557 Patent.

              Tecra Operates a System that Infringes upon the ’557 Patent.

       35.    Tecra is an e-commerce vendor and e-commerce platform builder that

operates the website www.Tecra.com and licenses software and software systems that

provide web-to-print storefronts for integration into or function as e-commerce

websites.

       36.    Tecra partners with Accudata and USAData to provide data to Tecra’s

customers within the Tecra storefronts.

       37.    Upon information and belief, Tecra builds for customers entire website

storefronts (a “Storefront”) that integrate into those websites a software application built

by Accudata and USAData that replicates the features of the Widget in the ’557 Patent.




                                             7
        Case 6:20-cv-00674-ADA Document 1 Filed 07/24/20 Page 8 of 14




      38.     Upon information and belief, Tecra licenses the Storefront that is

configured to:

              a. Have a direct connection between the software application and

                 Storefront operator’s server(s);

              b. Have a direct connection between the software application and

                 Accudata’s, Compact’s, USAData’s, and/or Mailers Haven’s server(s),

                 which allows Tecra’s customer to enable users of the Storefront to

                 directly query Accudata’s, Compact’s, USAData’s, and/or Mailers

                 Haven’s database(s);

              c. Have a direct connection between Accudata’s, Mailers Haven’s,

                 USAData’s, and/or Compact’s server(s) and the Storefront operator’s

                 server(s), which communicates to the Storefront operator of the

                 quantity/type of data its customer is purchasing in order to provide a

                 sales price for that data; and

              d. Allow Tecra’s customers to enable users of the Storefront to search

                 Accudata’s, Compact’s, USAData’s, and/or Mailers Haven’s database,

                 purchase or license a subset of data, and order printing services in the

                 same transaction, all from the Storefront operator’s website.

      39.     Tecra creates Storefronts that allow customers to search Accudata’s,

Compact’s, USAData’s, and/or Mailers Haven’s database(s), purchase or license data

and order printing services and Tecra charges customers for the creation of the

Storefront.




                                            8
         Case 6:20-cv-00674-ADA Document 1 Filed 07/24/20 Page 9 of 14




       40.    Through the creation of Storefronts, Tecra both uses a system that

infringes upon the ’557 patent and sells access to that system.

             Propago Operates a System that Infringes upon the ’557 Patent.

       41.    Propago is an e-commerce vendor and e-commerce platform builder that

operates the website www.Propago.com and licenses software and software systems

that provide web-to-print storefronts for integration into or function as e-commerce

websites.

       42.    Propago partners with Accudata to provide data to Propago’s customers

within the Propago storefronts.

       43.    Upon information and belief, Propago builds for customers entire website

storefronts (a “Storefront”) that integrate into those websites a software application built

by Accudata that replicates the features of the Widget in the ’557 Patent.

       44.    Upon information and belief, Propago licenses the Storefront that is

configured to:

   a. Have a direct connection between the software application and Storefront

       operator’s server(s);

   b. Have a direct connection between the software application and Accudata’s,

       Compact’s, and/or Mailers Haven’s server(s), which allows Propago’s customer to

       enable users of the Storefront to directly query Accudata’s, Compact’s, and/or

       Mailers Haven’s database(s);

   c. Have a direct connection between Accudata’s, Mailers Haven’s, and/or Compact’s

       server(s) and the Storefront operator’s server(s), which communicates to the




                                             9
        Case 6:20-cv-00674-ADA Document 1 Filed 07/24/20 Page 10 of 14




      Storefront operator of the quantity/type of data its customer is purchasing in order

      to provide a sales price for that data; and

   d. Allow Propago’s customers to enable users of the Storefront to search Accudata’s,

      Compact’s, and/or Mailers Haven’s database, purchase or license a subset of data,

      and order printing services in the same transaction, all from the Storefront

      operator’s website.

      45.    Propago creates Storefronts that allow customers to search Accudata’s,

Compact’s, and/or Mailers Haven’s database(s), purchase or license data and order

printing services and Propago charges customers for the creation of the Storefront.

      46.    Through the creation of Storefronts, Propago both uses a system that

infringes upon the ’557 patent and sells access to that system.

            DataWidget Notified Defendants and Others of Their Infringing
                                   Conduct

      47.    On September 11, 2019, DataWidget notified Defendants Tecra, Propago,

and others of the existence of the patent application that resulted in the ’557 Patent.

      48.    Each of these entities were provided with a copy of the ’557 Patent and

informed of the nature and scope of DataWidget’s rights. See Exhibit 2 and Exhibit 4,

September 11, 2019 letters to Tecra and Propago respectively.

      49.    DataWidget’s September 11, 2019 letters explained its concern that Tecra,

Propago, and other e-commerce vendors may be operating systems that infringe upon the

’557 patent. DataWidget requested that Tecra and Propago participate in DataWidget’s

investigation into potential infringement, but both Defendants declined to participate.

      50.    Thus, since at least September 11, 2019, Tecra, Propago, Compact, and

Accudata have had actual knowledge of the ’557 Patent.

                                            10
          Case 6:20-cv-00674-ADA Document 1 Filed 07/24/20 Page 11 of 14




       51.    Upon information and belief, Tecra, Propago, Compact, and Accudata

continue to infringe upon the ’557 Patent.

                            COUNT ONE AGAINST TECRA
                   (Direct Infringement of U.S. Patent No. 10,102,557)

       52.    DataWidget incorporates the allegations of the foregoing paragraphs as if

fully set forth herein.

       53.    Upon information and belief, Tecra has and continues to infringe the ’557

Patent by making, using, or selling, and/or offering for sale a system in the United States

that embodies or uses the inventions claimed in the ’557 Patent.

       54.    Tecra has thus directly (either literally or under the Doctrine of

Equivalents) infringed claim 1 of the ’557 Patent by making, using, selling, offering to

sell, or importing, without authority, systems that are covered by the claims of the ’557

Patent.

       55.    As a result of Tecra’s infringement of the ’557 Patent, DataWidget has been

and continues to be damaged in an amount to be determined at trial.

       56.    DataWidget has suffered irreparable injury for which there is no adequate

remedy at law and will continue to suffer such irreparable injury unless Tecra’s

infringement of the ’557 Patent is enjoined by this Court.

       57.    Tecra does not have a valid license or other authorization to make, use,

offer for sale, sell, or import the inventions covered by the claims of the ’557 Patent.

       58.    Tecra’s infringement of the ’557 Patent is exceptional and entitles

DataWidget to enhanced damages and reasonable attorneys’ fees incurred in prosecuting

this action under 35 U.S.C. §§ 284 - 285.




                                             11
          Case 6:20-cv-00674-ADA Document 1 Filed 07/24/20 Page 12 of 14




                         COUNT TWO AGAINST PROPAGO
                   (Direct Infringement of U.S. Patent No. 10,102,557)

       59.    DataWidget incorporates the allegations of the foregoing paragraphs as if

fully set forth herein.

       60.    Upon information and belief, Propago has and continues to infringe the ’557

Patent by making, using, or selling, and/or offering for sale a system in the United States

that embodies or uses the inventions claimed in the ’557 Patent.

       61.    Propago has thus directly (either literally or under the Doctrine of

Equivalents) infringed claim 1 of the ’557 Patent by making, using, selling, offering to

sell, or importing, without authority, systems that are covered by the claims of the ’557

Patent.

       62.    As a result of Propago’s infringement of the ’557 Patent, DataWidget has

been and continues to be damaged in an amount to be determined at trial.

       63.    DataWidget has suffered irreparable injury for which there is no adequate

remedy at law and will continue to suffer such irreparable injury unless Propago’s

infringement of the ’557 Patent is enjoined by this Court.

       64.    Propago does not have a valid license or other authorization to make, use,

offer for sale, sell, or import the inventions covered by the claims of the ’557 Patent.

       65.    Propago’s infringement of the ’557 Patent is exceptional and entitles

DataWidget to enhanced damages and reasonable attorneys’ fees incurred in prosecuting

this action under 35 U.S.C. §§ 284 - 285.

       WHEREFORE, Plaintiff, DataWidget, LLC, requests judgment against Tecra

Systems Inc. and Propago LLC, as follows:




                                             12
          Case 6:20-cv-00674-ADA Document 1 Filed 07/24/20 Page 13 of 14




       1.     Adjudging that Defendants Tecra Systems Inc. and Propago LLC have

infringed the ’557 Patent in violation of 35 U.S.C. § 271(a);

       2.     Adjudging Defendants jointly and severally for infringement upon the ‘557

Patent;

       3.     Enjoining Defendants, Tecra Systems Inc. and Propago LLC, their

employees, agents, officers, directors, attorneys, successors, affiliates, subsidiaries and

assigns, and all of those in active concert and participation with any of the foregoing

persons or entities from infringing, contributing to the infringement of, or inducing

infringement of the ’557 Patent;

       4.     Ordering Defendants, Tecra Systems Inc. and Propago LLC, to account and

pay damages adequate to compensate Plaintiff, DataWidget, LLC, for Defendants’

infringement of the ’557 Patent, in at least the amount of a reasonable royalty, in addition

to pre-judgment and post-judgment interest and costs, pursuant to 35 U.S.C. § 284;

       5.     Increasing the damages award up to three times the actual amount

assessed, pursuant to 35 U.S.C. § 284;

       6.     Finding this case exceptional and awarding Plaintiff, DataWidget, LLC,

enhanced damages and its reasonable attorneys’ fees, pursuant to 35 U.S.C. §§ 284 - 285;

and,

       7.     Awarding DataWidget such other and further relief as this Court deems

just and proper.

                             DEMAND FOR JURY TRIAL

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff,

DataWidget, LLC, hereby demands trial by jury on all issues raised by the Complaint.



                                            13
       Case 6:20-cv-00674-ADA Document 1 Filed 07/24/20 Page 14 of 14




Dated: July 24, 2020                  Respectfully submitted,




                                      Raymond W. Mort, III
                                      Texas State Bar No. 00791308
                                      raymort@austinlaw.com

                                      THE MORT LAW FIRM, PLLC
                                      100 Congress Ave, Suite 2000
                                      Austin, Texas 78701
                                      Tel/Fax: (512) 865-7950

                                      Pro Hac Vice Application Forthcoming

                                      Gregory C. Scaglione, # 19368
                                      Andrew S. Tugan, # 26917
                                      Koley Jessen P.C., L.L.O.
                                      One Pacific Place, Suite 800
                                      1125 South 103rd Street
                                      Omaha, NE 68124-1079
                                      (402) 390-9500
                                      (402) 390-9005 (facsimile)
                                      Greg.scaglione@koleyjessen.com
                                      Andrew.tugan@koleyjessen.com

                                      ATTORNEYS FOR PLAINTIFF




                                    14
